     Case 2:84-cr-00972-RMT Document 1328 Filed 06/18/19 Page 1 of 2 Page ID #:3212



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 9    UNITED STATES OF AMERICA

10                             UNITED STATES DISTRICT COURT

11                      FOR THE CENTRAL DISTRICT OF CALIFORNIA

12    UNITED STATES OF AMERICA,                No. CR 84-972-RMT-1

13               Plaintiff,                    ORDER SETTING BRIEFING SCHEDULE
                                               REGARDING NON-PARTY FUGITIVE
14                     v.                      MEDIA’S REQUEST TO UNSEAL
                                               DOCUMENTS [1326]
15    RICHARD MILLER et al.,

16               Defendants.

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18    For good cause shown, IT IS HEREBY ORDERED THAT:
19         (1)   On or before June 14, 2019, the government shall file a
20               response to Fugitive Media’s Request to Unseal Exhibits and
21               Transcripts Or, In The Alternative, View Sealed Documents,
22               with respect to the sealed documents provided to the
23               government by the Clerk’s Office.
24         (2)   On or before June 28, 2019, the government shall file a
25               status report regarding the review of the remaining sealed
26    //
27    //
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     Case 2:84-cr-00972-RMT Document 1328 Filed 06/18/19 Page 2 of 2 Page ID #:3213



 1               documents previously designated as classified to determine

 2               whether they remain subject to classification.

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 4
       June 18, 2019
 5     DATE                                   THE HONORABLE VIRGINIA A. PHILLIPS
                                              UNITED STATES DISTRICT JUDGE
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